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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Civil Case No. 18-cv-01710-KMT

ROGER HILL,

       Plaintiff,
v.

MARK EVERETT WARSEWA,
LINDA JOSEPH, and
THE STATE OF COLORADO

       Defendants.


              RESPONSE TO MOTIONS TO DISMISS, ECF DOCS. 21 AND 271


                                      I. INTRODUCTION

       Plaintiff is a 77-year-old fly fisherman who simply wants to fish the Arkansas River at

his favorite fishing spot, just upstream from the River’s confluence with Texas Creek. But the

Individual Defendants, Warsewa and Joseph, are preventing him from fishing by force and

threats of force. They have thrown rocks at Plaintiff, threatened to sue for trespass, and shot at

Plaintiff’s friend. See ECF Docs. 13 at ¶¶ 13-48. Plaintiff asserts that he has a right to fish at the

disputed location by virtue of the federal doctrine of navigability for title, while the Individual

Defendants claim they own the disputed portion of the riverbed and therefore have a right to

exclude Plaintiff. See id.

       Through various procedural moves by the State and Individual Defendants, this

controversy started in federal court, was refiled in state court, and is now removed back to


1
 The Court granted Plaintiff’s unopposed motion to file a single consolidated response to
Defendants’ two motions to dismiss and Plaintiff’s request for excess pages of no more than 25.
ECF Doc. 33.


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federal court. See infra at 3-4 (describing this dispute’s history). Now all Defendants seek to

dismiss Plaintiffs’ claims, largely on jurisdictional grounds. See ECF Docs. 21 and 27. As this

case was originally filed in state court and subsequently removed to federal court, any finding of

a lack of jurisdiction must lead to remand to state court, not dismissal. See ECF Doc. 28

(Plaintiff’s motion for remand); 28 U.S.C.§ 1447(c) (“If at any time before final judgment it

appears that the district court lacks subject matter jurisdiction, the case shall be remanded.”

(emphasis added)).

       But putting that substantial flaw aside and assuming, arguendo, dismissal should be

considered, Defendants’ arguments are as extreme as they are bold. Defendants all claim—

seemingly in concert—that private citizens can stand sentry over public land, claim it as their

own, repel other citizens with violence and threats of legal action, and only the State—if it

chooses—can pursue a remedy.

       This simply cannot stand in the context of navigable riverbeds. The State of Colorado

entered the Union on an equal footing with other States, and accordingly obtained title to the bed

of all navigable streams and lakes within its borders upon statehood in trust for the public to

navigate, pursue commerce, and fish. See Illinois Central Railroad v. Illinois, 146 U.S. 387, 452

(1892). This is the law. It is not controversial. Nonetheless, the State argues in its motion to

dismiss that the Plaintiff’s claim that the Arkansas River is navigable for purposes of

determining title to the bed, is “unprecedented” and based upon a “never-before litigated legal

theory.” The State’s argument is as baffling as it is wrong. As demonstrated below, a rich body

of law that includes numerous decisions from the U.S. Supreme Court has explored the reach of

the navigability for title doctrine from the very beginning of our history. See infra at 4-6. Indeed,

this law is based upon legal principles that date back to at least the time of the Roman Empire.




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See Institutes of Justinian, Lib. II, Tit. I, § 2 (T. Cooper transl. 2d ed. 1841) (“Rivers and ports

are public; hence the right of fishing in a port, or in rivers are in common.”).

        The State’s obvious hostility to the very notion that it might hold title to the bed of

Colorado’s navigable lakes and streams stands in derogation of its sacred responsibility to

protect these assets as trustee for its people. See Glass v. Goeckel, 703 N.W.2d 58 (Mich. 2005);

Arizona Center for Law in Public Interest v. Hassell, 837 P.2d 158, 166 (Ariz. Ct. App. 1991).2

If the State wants to claim that the Arkansas River is in fact not navigable, then Plaintiff is happy

to litigate that issue. But for the State to work so aggressively to deny its residents not only the

rights to navigable stream access enjoyed by the citizens of every other state, but the right of

these citizens to even have their day in Court, is a shocking abuse of the State’s fiduciary

responsibility.

                                II. PROCEDURAL HISTORY

       Plaintiff initially filed this private fishing dispute in this Court, naming only Warsewa

and Joseph as Defendants. See Hill v. Warsewa, 18-cv-00277-PAB-KLM, ECF Doc. 1 (D. Colo).

The Individual Defendants defaulted. See id. at ECF Doc. 15. However, the State of Colorado—

until then a non-party—moved to intervene, claimed it was a necessary and indispensable party

pursuant to Rule 19, and asked the Court to dismiss based on Eleventh Amendment sovereign

immunity. See id. at ECF Docs. 17, 17-1. Caring little what forum this dispute is litigated in and

simply wanting to reach the merits of the dispute as efficiently as possible, Plaintiff dismissed

the federal case pursuant to Rule 41 and refiled substantially the same case in Colorado state

court. See Hill v. Warsewa, 2018CV030069 (Colo. Dist. Ct.). As the State had asserted it was a

necessary party, but had not indicated which side, if any, it intended to take, Plaintiff named the


2
 The court found that any disposal of public trust lands must satisfy the state’s “special
obligation to maintain the trust for the use and enjoyment of present and future generations.” Id.


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State as an “Interested Party” in the state court caption and served the State as well as the

Individual Defendants with the state court complaint.3

          After defaulting in the original action filed in federal court, the Individual Defendants

appeared in the subsequently filed state action, removed the case to this Court on the basis of

federal question jurisdiction, and moved to dismiss. See ECF Doc. 1. Despite its eagerness to

appear in the prior litigation, the State expressed an unwillingness to appear in this litigation

unless it was named as a Defendant. So, Plaintiff amended, filing substantially the same

Complaint for the third time, but this time added the State as a named Defendant. See ECF Doc.

13 (amended complaint)

          The State and the Individual Defendants filed motions to dismiss the amended complaint

raising myriad defenses. See ECF Docs. 21 and 27. Plaintiff has filed a motion to remand the

case to state court pursuant to the removal statute because this Court lacks subject matter

jurisdiction. See ECF Doc. 28.

                               III. NAVIGABILITY FOR TITLE

          Upon admission to the Union, states enter on an “equal footing” with the original thirteen

states. Pollard’s Lessee v. Hagan, 44 U.S. (3 How.) 212 (1845). Among other things, this

“‘Equal Footing Doctrine” means that states receive title to the bed of tidelands and all navigable

streams and lakes within their borders. PPl Montana, LLC v. Montana, 565 U.S. 576, 590-91

(2012).

          The Court explained the purposes of this grant in Shively v. Bowlby:


3
  Much has been made about the Plaintiff labeling the State as an “interested party” rather than a
Defendant in the state court complaint. But the State also did not label itself as a Plaintiff or
Defendant when it intervened in the first Federal Court action. See Hill v. Warsewa, 18-cv-
00277-PAB-KLM, ECF Doc. 17-1 (D. Colo), (calling itself an “Intervenor”). Labeled as an
interested party—which is clearly permitted in the State Court filing system—the State was left
to appear on whichever side of the “V” it chose.


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       The congress of the United States, in disposing of the public lands, has constantly
       acted upon the theory that those lands, whether in the interior or on the coast, above
       high-water mark, may be taken up by actual occupants, in order to encourage the
       settlement of the country, but that the navigable waters and the soils under them,
       whether within or above the ebb and flow of the tide, shall be and remain
       public highways; and, being chiefly valuable for the public purposes of
       commerce, navigation, and fishery, and for the improvements necessary to
       secure and promote those purposes, shall not be granted away during the
       period of territorial government, but, … shall be held by the United States in
       trust for the future states, and shall vest in the several states, when organized and
       admitted into the Union, with all the powers and prerogatives appertaining to the
       older states in regard to such waters and soils within their respective jurisdictions;
       in short, shall not be disposed of piecemeal to individuals, as private property, but
       shall be held as a whole for the purpose of being ultimately administered and dealt
       with for the public benefit by the state, after it shall have become a completely
       organized community.

152 U.S. 1, 49-50 (1894) (emphasis added). Thus, when Colorado was admitted to the Union in

1876, it received title to the bed of all navigable rivers and lakes within the State. The Supreme

Court recently reaffirmed these principles. See PPl Montana, LLC v. Montana, 565 U.S. at 589-

93 (2012).

       The nature of state ownership of the bed of navigable waters was further explained by the

Supreme Court in Illinois Central Railroad v. Illinois:

       That the state holds the title to the lands under the navigable waters … in the same
       manner that the state holds title to soils under tide water, by the common law, we
       have already shown …. But it is a title different in character from that which
       the state holds in lands intended for sale. It is different from the title which the
       United States hold in the public lands which are open to pre-emption and sale. It is
       a title held in trust for the people of the state, that they may enjoy the
       navigation of the waters, carry on commerce over them, and have liberty of
       fishing therein, freed from the obstruction or interference of private parties.

146 U.S. 387, 452 (1892). (Emphasis added.) No Colorado Courts have examined this issue of

federal law. See PPl Montana, LLC, 565 U.S. at 591 (“[A]ny … questions of navigability for




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determining state riverbed title are governed by federal law.” (emphasis added)).4 But other

Courts in other states have consistently parroted Illinois Central and Shively.5 Accordingly, if the

Arkansas River is navigable for title purposes along the segment used by the Plaintiff, the State

of Colorado owns the bed in trust for the public and, accordingly, Plaintiff has the right to fish

there.




4
  Public access on state constitutional grounds was unsuccessfully argued in People v. Emmert,
597 P.2d 1025 (Colo. 1979). Importantly, the parties in Emmert stipulated that the contested river
was not navigable at statehood, and the argument regarding public access instead revolved around
the Colorado Constitution. Id. at 1026 (“The parties stipulated that the river is non-navigable and
had not historically been used for commercial or trade purposes of any kind.”). To the best of
Plaintiff’s counsels’ knowledge, no Colorado state court has ever considered the federal law issue
of whether a river in this state is navigable for title at statehood. And while two older Colorado
court cases suggest in dicta that there are no navigable streams in the state, Stockman v. Leddy,
129 P. 220, 222 (Colo. 1912); In re German Ditch & Reservoir Co., 139 P. 2, 9 (1913), the
Arkansas River was not in dispute in either case, neither opinion undertakes the rigorous, segment-
by-segment analysis of individual rivers described by the Supreme Court, and these decisions’
generic use of the word “navigable” makes it wholly unclear as to whether they are discussing
navigability for federal regulation under the commerce clause or navigability for title purposes,
see PPL Mont., LLC, 565 U.S. at 589-93; Oregon by Div. of State Lands v. Riverfront Prot. Assoc.,
672 F.2d 792, 794 n.1. (9th Cir. 1982) (discussing the difference between navigability for title
purposes and navigability for federal regulatory purposes).
5
  See, e.g., Kramer v. City of Lake Oswego, 395 P.3d 592, 604 (Or. 2017) (“[T]he state, by virtue
of its sovereignty and its admission as a state under the equal-footing doctrine, takes title to the
submerged and submersible lands underlying navigable waters in trust for the public for purposes
of navigation, fishing, and recreation….”) (citing Shively, 152 U.S. 1; Illinois Central, 146 U.S. at
452); Ariz. Ctr. for Law in the Pub. Interest v. Hassell, 837 P.2d 158, 168 (Ariz. App. 1991). (“[A]
state, as administrator of the trust in navigable waters on behalf of the public, does not have the
power to abdicate its role as trustee in favor of private parties.”) (quoting Kootenai Envtl. Alliance,
Inc. v. Panhandle Yacht Club, Inc., 671 P.2d 1085, 1088 (Idaho 1983) (citing Illinois Central, 146
U.S. 387)); Provo City v. Jacobsen, 176 P.2d 130, 140 (Utah 1947) (“Thus the states acquired all
rights previously exercised by the King alone or the King and Parliament, including the bed or soil
under navigable waters which is held by the people of the states as sovereign in trust for public
uses.”) (citing Illinois Central, 146 U.S. 387); Winters v. Myers, 140 P. 1033, 1037 (Kan. 1914)
(“[T]he trust upon which such submerged lands are held for the public purposes of navigation,
fisheries and the like….”); Crawford Co. v. Hathaway, 93 N.W. 781, 789 (Neb. 1903) (“The waters
in such streams would be held to be publici juris, and not subject to riparian claims by the adjoining
landowner….”) (citing Shively, 152 U.S. 1; Illinois Central, 146 U.S. 387).



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                                        IV. ANALYSIS

A. If the Court Lacks Subject Matter Jurisdiction, This Case Must Be Remanded to State
   Court, Not Dismissed

       The vast majority of Defendants’ arguments in their motions to dismiss request dismissal

for lack of subject matter jurisdiction. See ECF Docs. 21 at 1-16 (Individual Defendants arguing

for dismissal because of a lack of Article III standing) and 27 at 6-7, 9-11 (State arguing for

dismissal because of Eleventh Amendment immunity and lack of Article III standing). But when,

as here, a case was originally filed in state court and was then removed to federal court, the

proper remedy for lack of subject matter jurisdiction is remand to state court, not dismissal. See

28 U.S.C. § 1447(c) ("If at any time before final judgment it appears that the district court lacks

subject matter jurisdiction, the case shall be remanded." (emphasis added)). Plaintiff has filed a

motion requesting that mandatory remand. See ECF Doc. 28.

       This Court must consider the Rule 12(b)(1) arguments regarding lack of subject matter

jurisdiction before proceeding to Defendants’ non-jurisdictional arguments. See Bell v. Hood,

327 U.S. 678, 682 (1946); Cunningham v. BHP Petroleum Great Britain PLC, 427 F.3d 1238,

1245 (10th Cir. 2005) (holding that once a federal court determines that it is without subject

matter jurisdiction, it must not proceed to consider any other issue). If in that threshold

jurisdictional determination the Court finds a lack of subject matter jurisdiction, is must remand

to state court and not proceed to any of Defendants’ merits arguments. See 28 U.S.C.§ 1447(c);

ECF Doc. 28.

B. The State’s Assertion of Eleventh Amendment Immunity Requires Remand

       The State asserts Eleventh Amendment sovereign immunity to both of Plaintiff’s claims.




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See ECF Doc. 27 at 9-10. For purposes of this response, Plaintiff accepts6 this assertion of

immunity and believes that either Plaintiff’s claims against the State or Plaintiff’s claims against

both the State and the Individual Defendants must be remanded to state court as a result. See

ECF Doc. 28 (arguing that the assertion of Eleventh Amendment immunity robs the Court of

subject jurisdiction and requires remand). Indeed, the Supreme Court has considered whether the

assertion of Eleventh Amendment immunity should bar a private citizen from asserting claims

involving navigable riverbed rights in federal court and found that it does. See generally Idaho v.

Coeur d'Alene Tribe of Idaho, 521 U.S. 261 (1997).

       But Plaintiff does not concede that the State is a necessary or indispensable party to this

private fishing dispute under Rule 19 and therefore does not concede that the assertion of

Eleventh Amendment immunity by the State should doom Plaintiff’s claims against the

Individual Defendants.7 But see Hill v. Warsewa, 18-cv-00277-PAB-KLM, ECF Docs. 17, 17-1

(D. Colo) (the State’s motion to intervene in the prior federal litigation arguing that it is a

necessary and indispensable party to similar claims); supra at 3-4 (describing prior litigation).

This issue is not considered in Defendants’ motions, but it is the Court’s duty to consider this

issue sua sponte. See Enter. Mgmt. Consultants, Inc. v. United States, 883 F.2d 890, 892 (10th

Cir. 1989) (“[T]his issue is not waivable, and … a reviewing court has "an independent duty to



6
  It should also be noted that Plaintiff’s claims were not futile in Federal Court on these grounds
until the State decided to assert the immunity, as the immunity is waivable. See Wisconsin Dept.
of Corrections v. Schacht, 524 U.S. 381, 389 (1998) ("The Eleventh Amendment, however, does
not automatically destroy original jurisdiction. Rather, the Eleventh Amendment grants the State
a legal power to assert a sovereign immunity defense should it choose to do so."). Thus, the
assertion of sovereign immunity’s impact on this Court’s jurisdiction did not attach until the
State first claimed immunity in its motion to dismiss on August 8. Plaintiff filed his motion for
remand shortly thereafter on August 10. See ECF Doc. 28.
7
   In two important public trust title cases, the States of California and Michigan appeared as
amicus curiae, apparently recognizing that their participation as a party was not necessary. Glass
v. Goeckel, 703 N.W.2d 58 (Mich. 2005); Marks v. Whitney, 6 Cal. 3d 251 (1971).


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raise it sua sponte.” (quotations omitted and emphasis in original)). Thus, while Plaintiff takes

no position on the issue here,8 Plaintiff’s counsel points the Court to the issue as an officer of the

Court.

C. Plaintiff Has Standing9

         Both the Individual Defendants and the State argue that Plaintiff lacks constitutional

standing under Article III of the United States Constitution. See ECF Docs. 21 at 6-15, 27 at 6-7.

These arguments lack merit because they hinge on the mistaken premise that Plaintiff is

attempting to allege the State’s injury rather than his own. ECF Doc. 21 at 3; ECF Doc. 27 at 6.

They claim that that any injury is to the State’s “legally protected interest,” not Plaintiff’s. See

Lujan v. Defendants of Wildlife, 504 U.S. 555, 561 (1992) (injury in fact must be to a “legally

protected interest.”). This is mistaken.

         The test for standing was set out by the Supreme Court in Lujan, 504 U.S. at 560-561.10

There the Court held that for a party to have standing he or she must demonstrate an injury in


8
        Plaintiff should not be forced to argue against an issue not raised by Defendants and
expressly reserves his right to argue that the State is neither a necessary nor indispensable party
in any future proceedings.
9
        If Plaintiff lacks Constitutional standing, this Court lacks subject matter jurisdiction, and
the case must be remanded to state court under the removal statute. 28 U.S.C.§ 1447(c).
10
        There also appears to be a second path to standing in the 10th Circuit for claims under the
Declaratory Judgment Act, like Plaintiff’s first claim here. The declaratory judgment act
provides that “[i]n a case of actual controversy within its jurisdiction … any court of the United
States, upon the filing of an appropriate pleading, may declare the rights and other legal relations
of any interested party seeking such declaration, whether or not further relief is or could be
sought.” 28 U.S.C. § 2201. As used in the act, “case of actual controversy” means a “case or
controversy” under Article III of the United States Constitution. See Aetna Life Ins. Co. v.
Haworth, 300 U.S. 227, 239-40 (1937); Protocols, LLC v. Leavitt, 549 F.3d 1294, 1300 (10th
Cir. 2008) (finding the same and citing Aetna). A line of cases has grown out of Aetna
determining when the Article III “case or controversy” requirement has been met in the context
of declaratory judgments. See MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 129 (2007);
Columbian Fin. Corp. v. BancInsure, Inc., 650 F.3d 1372, 1375-85 (10th Cir. 2011) (describing
history of cases). And a finding that a case meets the “case of actual controversy” requirement
under the Declaratory Judgment Act is sufficient to find Article III standing, as both analyses
answer the same question: does a “case or controversy” exist under the Constitution? Protocols,


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 fact that is “concrete and particularized” and “actual or imminent.” Id. In addition, a party must

 show that the injury can be traced to the conduct of the defendant and can be redressed by the

 relief being sought. Id.; see Tandy v. City of Wichita, 380 F.3d 1277, 1283 (10th Cir.2004).

 Plaintiff easily meets this test.

         Plaintiff asserts the same injuries for both claims: (1) the denial of his right to use the

 disputed riverbed for fishing, (2) physical injury from physical violence inflicted by the

 Individual Defendants, (3) the expense of costly litigation if the Individual Defendants were to

 pursue a trespass action, and (4) arrest and criminal prosecution if the Individual Defendants

 were to call the Sheriff and press charges, as they have threatened. ECF Doc. 13 ¶ 13 (“Plaintiff

 Hill fears physical violence, arrest, and claims of trespass if he returns to this fishing spot.”), ¶¶

 14-48 (detailed allegations of the basis of this fear); ECF Doc. 13-3 (note from Defendant

 Warsewa to Plaintiff stating, “YOU CAN AND WILL BE CHARGED WITH

 TRESPASSING!”).

         These injuries either have happened or there is a substantial risk that they will happen in

 the future. See Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334, 2341 (2014) (“An allegation

 of future injury may suffice if the threatened injury is 'certainly impending,' or there is a

 ‘“substantial risk” that the harm will occur.’”). The Individual Defendants have thrown large

 rocks at Plaintiff, threatened to pursue criminal trespass charges, and shot at Plaintiff Hill’s


 LLC v. Leavitt, 549 F.3d 1294, 1300 (10th Cir. 2008) (Citing Sprint Commc’ns Co. v. APCC
 Servs., Inc., 128 S. Ct. 2531 (2008) (Article III can be satisfied only if plaintiff has standing).

         Here, there can be little doubt that the dispute between Plaintiffs as to whether or not the
 disputed riverbed was navigable for title at statehood, and thus whether or not the Individual
 Defendants own the riverbed, “is a substantial controversy, between parties having adverse legal
 interests, of sufficient immediacy and reality to warrant the issuance of a declaratory judgment.’”
 Columbian Fin. Corp.., 650 F.3d at 1385. And that alone should be enough for standing for
 Plaintiff’s first claim. See Protocols, LLC , 549 F.3d at 1300.



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 friend. See ECF Docs. 13 at ¶¶ 13-48; ECF Doc. 13-3. Indeed, Defendant Warsewa pleaded

 guilty to menacing for shooting at Plaintiff’s friend while he waded on the disputed riverbed. See

 ECF Doc. 13 ¶¶ 33-48. For the purposes of considering standing at the motion to dismiss stage,

 these allegations must be taken as true. See Warth v. Seldin, 422 U.S. 490, 501 (1975). And

 given these allegations, Plaintiff plausibly alleges that he fears physical violence, arrest, criminal

 prosecution, and claims of civil and criminal trespass if he returns to his favorite fishing spot. Id.

 ¶ 13; Tandy v. City of Wichita, 380 F.3d at 1283 (“[p]ast wrongs are evidence bearing on whether

 there is a real and immediate threat of repeated injury….”).

         Finally, all these injuries can clearly be traced to the Individual Defendants’ conduct and

 all of the injuries can be redressed by the relief being sought, i.e., declaring the disputed riverbed

 the property of the State held in trust for the public and quieting title to the riverbed to ensure

 that title, and the public rights attached to it, are secured. See Lujan, 504 U.S. at 560-561. The

 only remaining question, and the only question contested by Defendants, is whether the

 Plaintiff’s injury is to a “legally protected interest.” It plainly is.

     1. The Right to Access Navigable Riverbeds Is a Legally Protected Interest

         Defendants make much of the fact that the navigability for title doctrine grants title to the

 State at statehood, suggesting that this deprives only the State of a legal interest. See, e.g., ECF

 Doc. 21 at 9 (repeatedly underlining the word “state”). But they conveniently ignore the nature

 of this title. As the Supreme Court has said, the State holds a title that is “different in character”

 from land subject to disposition and sale. It holds title “in trust for the people of the state, that

 they may enjoy the navigation of the waters, carry on commerce over them, and have liberty of

 fishing therein.” Illinois Central Railroad, 146 U.S. at 452; see supra at 4-5 (quoting Shively,

 152 U.S. at 49-50). And while never considered in Colorado state courts, courts in other states

 too numerous to count have recognized that a state’s title in navigable riverbeds conferred under


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 the Equal Footing Doctrine is encumbered by the public’s right in navigation, commerce, and

 fishing. See supra at n. 6. That right encompasses both of Plaintiff’s claims and represents a

 “legally protected interest.”

    2. State Laws Unrelated to the Merits Issues Also Provide Legally Protected Interests

        In order to succeed on the merits of his claim, Plaintiff must show that the Arkansas

 River at the disputed location was navigable for title at the time of statehood. But the legal

 sufficiency of Plaintiff’s claim is not the test for an “injury in fact.” See Initiative & Referendum

 Inst. v. Walker, 450 F.3d 1082, 1093 (10th Cir. 2006). (“[T]hat would put the merits cart before

 the standing horse.”). And Plaintiff’s “legally protected interest” need not “be the same as, or

 even related to, the legal basis for the plaintiff's claim.” In re Special Grand Jury 89-2, 450 F. 3d

 1159, 1173 (10th Cir.2006). As the Third Circuit succinctly describes, any law, state or federal,

 can be that protected interest:

        “legally protected interests” may arise from the Constitution, from common law, or
        “solely by virtue of ‘statutes creating legal rights, the invasion of which creates
        standing.’” Lujan, 504 U.S. at 576-78 (quoting Warth, 422 U.S. at 500). Both
        federal law and state law — including state statutes – “can create interests that
        support standing in federal courts." Cantrell v. City of Long Beach, 241 F.3d 674,
        684 (9th Cir. 2001) (citing FMC Corp. v. Boesky, 852 F.2d 981, 992 (7th Cir.
        1988)).

 Cottrell v. Alcon Labs., 874 F.3d 154, 164 (3d Cir. 2017).

        Here, Colorado state law also provides “legally protected interests.” This lawsuit seeks a

 judicial determination regarding whether Plaintiff has a right to fish on the disputed riverbed or

 whether the Individual Defendants have a right to exclude him for trespass. Moreover, it would

 lessen the likelihood of physical violence. Colorado law justifies all non-lethal force in defending

 one’s real property. Colo. Rev. Stat. § 18-1-705. If the Individual Defendants own the riverbed,

 physical violence in removing Plaintiff could be justified. If they do not own the riverbed, that

 same physical violence is tortious battery and criminal menacing under Colorado law.


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 Determining whether fishing on the disputed riverbed is state law trespass and whether the

 Individual Defendants using physical force to exclude Plaintiff is battery or excused are both

 legally protected interests under state law.

    3. Plaintiff’s Claims Are Not “Generalized Grievances”

        Though never really articulated by Defendants, their real standing gripe appears to be that

 Plaintiff has merely raised a “generalized grievance,” i.e., “claiming only harm to his and every

 citizen’s interest in proper application of the Constitution and laws, and seeking relief that no

 more directly and tangibly benefits him than it does the public at large.” See Hollingsworth v.

 Perry, 570 U.S. 693, 706 (2013); ECF Doc. 21 at 10 (citing cases on generalized grievances in

 arguing against prudential standing). According to Hollingsworth, “to have standing, a litigant

 must seek relief for an injury that affects him in a ‘personal and individual way. He must possess

 a ‘direct stake in the outcome’ of the case.” Id. at 705.

        First, it is not at all clear that standing should be denied just because an injury is widely

 shared. See United States v. Students Challenging Regulatory Agency Procedures (SCRAP)

 (1973); 412 U.S. 669, 687 (“[W]e have already made it clear that standing is not to be denied

 simply because many people suffer the same injury.”); Sierra Club v. Morton, 405 U.S. 727, 734

 (1972). (“[T]he fact that particular environmental interests are shared by the many rather than the

 few does not make them less deserving of legal protection through the judicial process.”). In

 Federal Elections Commission v. Akins, 524 U.S. 11, 24 (1998), the Court acknowledged that

 some of its decisions had used broad language to suggest that commonly-shared injuries were not

 justiciable. But the Court noted that this broad language “appears in cases where the harm at

 issue is not only widely shared, but is also of an abstract and indefinite nature.” Id. The Court

 went on to explain that “where a harm is concrete, though widely shared, [we have] found




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 “injury in fact.” Id., citing Public Citizen v. Department of Justice, 491 U.S. 440 at 449–450.

 There can be little doubt that the Plaintiff’s injury in this case is concrete.

         Indeed, Plaintiff has concrete and particularized harms independent of the public at large.

 The Supreme Court recently grappled with this generalized injury vs. concrete and particularized

 injury dichotomy in Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016) and appeared to adopt an

 approach similar to that articulated in Akins. In Spokeo, the Supreme Court considered whether

 procedural violations of the Fair Credit Reporting Act were sufficient to confer standing to

 pursue a private cause of action under that statute. Id. The Court found no standing because “[a]

 violation of one of the FCRA’s procedural requirements may result in no harm.” Id. at 1550.

 Rather than a mere procedural violation, a Plaintiff must instead show a “particularized” injury

 that “must affect the plaintiff in a personal and individual way.” Id. at 1548 (quoting Lujan, 504

 U. S. at n. 1).

         Of particular relevance here, however, is Justice Thomas’ Spokeo concurrence where he

 analogized the rule announced in Spokeo to the traditional difference between a litigant

 vindicating a “private right” with a litigant vindicating a “public right.” Id. at 1550-52.

 According to Justice Thomas, public rights include “free navigation of waterways, passage on

 public highways, and general compliance with regulatory law.” Id. at 1551 (quoting Woolhander

 & Nelson, Does History Defeat Standing Doctrine?, 102 Mich. L. Rev. 689, 693 (2004)). In this

 framework, “[t]he existence of special, individualized damage had the effect of creating a

 private action for compensatory relief to an otherwise public-rights claim.” Id. at 1552 (emphasis

 added). An 1808 decision from the Pennsylvania Supreme Court—cited in the Woolhander

 article relied on by Justice Thomas—describes exactly what kind of special damage is needed to

 pursue a private action against an individual who is obstructing a navigable waterway:




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         The general principle has been always agreed, that for an obstruction to a highway,
         which is a common nuisance, an action cannot be supported, but by a person who
         has suffered some special damage…. The plaintiff has averred that he had procured
         a large quantity of boards and timber and made them into rafts to bring down the
         river; that he seized the opportunity of a flood, and did come down as far as the
         obstruction, and was there stopped by the obstruction. It is certain that he must have
         suffered special damage, and the jury have found so; and if he has, it is immaterial
         whether it was immediate or consequential.

 Hughes v. Heiser, 1 Binn. 463, 468-69 (Pa. 1808).

         Here, Plaintiff has alleged exactly the kind of specialized, concrete, and particularized

 injury that allows him to pursue a suit against the Individual Defendants for obstructing his

 access to the riverbed of a navigable waterway. The Individual Defendants have thrown large

 rocks at Plaintiff, threatened to pursue criminal trespass charges, and shot at Plaintiff Hill’s

 friend. See ECF Docs. 13 at ¶¶ 13-48. And Plaintiff plausibly fears physical violence, arrest, and

 claims of trespass if he returns to this fishing spot.” ECF Doc. 13 ¶ 13. Thus, even if Plaintiff is

 trying to vindicate a public right of access to the river he alleges is navigable, he has a

 specialized, concrete, and particularized injury that permits him standing.

         Moreover, every case cited by Defendants is distinguishable because they all involve a

 Plaintiff asserting a standing based on a more traditional State title. Here, Plaintiff asserts a right

 to fish based on a servitude that encumbers the State’s title. The leading case addressing the

 precise question of whether members of the public have a sufficient interest in the use of

 navigable waterways and their beds to confer standing in a quiet title action is Marks v. Whitney,

 6 Cal. 3d 251, 262 (1971). There, the Court found resoundingly in favor of standing:

         Does Whitney have “standing” to request the court to recognize and declare the
         public trust easement on Marks’ tidelands…. Yes…. It is now well settled that the
         court may finally determine as between the parties in a quiet title action all of the
         conflicting claims regarding any estate or interest in the property. Where the
         interest concerned is one that, as here, constitutes a public burden upon land
         to which title is quieted, and affects the defendant as a member of the public,
         that servitude should be explicitly declared.



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 Id. (emphasis added, citations and quotations omitted); see also Utah Stream Access Coal. v.

 Orange St. Dev., 416 P.3d 553, 565 (Utah 2017) (Dissent arguing that “[t]he majority avoids the

 question of whether a private party has standing to bring a claim that the State has title to the

 lands underlying navigable waters. Because I see a claim for navigability-for-title as being

 identical to a claim for quiet title, I would reach that issue and hold that Utah citizens, in some

 circumstances, do have standing.”).

         Finally, it is tragic that the State of Colorado, as trustee for Colorado citizens, is

 unwilling to stand up for the public’s right of access to navigable waters. It is worse still that the

 State seeks to deny Plaintiff his day in court, which, because of the State’s dereliction of duty, is

 the only effective way that he can protect his interest in fishing from the bed of the Arkansas

 River. Plaintiff has amply demonstrated his concrete, particularized, and imminent injury, both in

 the context of his declaratory judgment and quiet title claims and Plaintiff thus urges the Court to

 recognize his standing to bring these claims.

 D. Plaintiff Does Not Allege Third Party Prudential Standing

         Defendants also all argue that Plaintiff lacks third party prudential standing. See ECF

 Docs. 21 at 1-16 (Individual Defendants arguing for dismissal because of a lack of third-party

 prudential standing) and 27 at 7-9 (State arguing the same). First, the Court need not consider

 this non-jurisdictional issue if it decides it lacks jurisdiction for other reasons. Wilderness Soc. v.

 Kane Cnty., Utah, 632 F.3d 1162, 1168 n. 1 (10th Cir.2011) (“prudential standing is not a

 jurisdictional limitation”). If the Court were to reach this issue, however, Plaintiff does not assert

 third-party standing, but instead asserts standing based on his own personal injury. See supra at

 9-16.




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 E. There Is No Common Law Sovereign Immunity in Colorado

        In addition to asserting Eleventh Amendment immunity, the State also attempts a novel

 argument that it has common law sovereign immunity with regard to the claims asserted in the

 Complaint. See ECF Doc. 27 at 11-12. But there is no common law sovereign immunity in

 Colorado. The Colorado Supreme Court abrogated all common law sovereign immunity in

 Evans v. Bd. of Cty. Comm’rs, 482 P.2d 968 (1971). After Evans, the Colorado legislature

 implemented limited statutory sovereign immunity for torts under the Colorado Governmental

 Immunity Act (CGIA). See Colo. Rev. Stat. § 24-10-106 (“A public entity shall be immune from

 liability in all claims for injury which lie in tort or could lie in tort.”). The Colorado Supreme

 Court recently reaffirmed Evans and described the current state of sovereign immunity in

 Colorado:

        Until 1971, governmental entities in Colorado enjoyed protection from suit under
        the doctrine of sovereign immunity. In Evans v. Board of County Commissioners
        of El Paso County, we departed from that doctrine. 174 Colo. 97, 482 P.2d 968,
        968 (Colo. 1971), superseded by statute on other grounds as recognized in Padilla
        ex rel. Padilla v. Sch. Dist. No. 1, 25 P.3d 1176 (Colo. 2001). We observed that the
        judicially created doctrine resulted in “the injustice and inequity—even absurdity—
        of having recovery for negligence against individuals and against firms for
        negligence of their employees, but no recovery against governmental units for the
        negligence of their employees.” Id. at 969. We concluded that the General
        Assembly—and not the courts—should determine when, if ever, governmental
        entities should have immunity from suit. Id. at 972. The General Assembly
        responded by adopting the CGIA. See Colorado Governmental Immunity Act, Ch.
        373, sec. 1, §§ 130-11-1 to -17, 1971 Colo. Sess. Laws 1204, 1204-12 (now codified
        at §§ 24-10-101 to -120).

 Open Door Ministries v. Lipschuetz, 373 P.3d 575, 578 (Colo. 2016).

        There simply is no common law sovereign immunity in the State of Colorado over any

 claims, including those here, and the Defendants rightly do not assert statutory sovereign

 immunity. See id. The State’s argument must therefore fail.




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 F. Federal Claims Can Be Heard in State Courts

         Though confusing, embedded in the State’s argument regarding common law sovereign

 immunity is a suggestion that Colorado state courts are somehow an improper forum to decide

 the navigability of a river because it is a federal question. See ECF Doc. 27 at 11. The case cited

 stands for the limited proposition that if a State has sovereign immunity in state court, that

 sovereign immunity cannot be abrogated in federal court by federal legislation. Alden v. Maine,

 527 U.S. 706, 755 (1999) .

         But the State does not have state law sovereign immunity, supra at 17, and the Colorado

 state courts are courts of general jurisdiction capable of hearing all claims, including those raised

 here. See Colo. Const. art. VI, § 9 (“[t]he district courts shall be trial courts of record with

 general jurisdiction, and shall have original jurisdiction in all civil, probate, and criminal cases

 ….”); Consumer Crusade v. Affor. Health Care Sol., 121 P. 3d 350, 353 (Colo. App. 2005)

 (“Moreover, state courts of general jurisdiction are presumed to have jurisdiction over federal

 claims.” (citing Tafflin v. Levitt, 493 U.S. 455 (1990)).

         In Idaho v. Coeur d’Alene Tribe of Idaho, the Supreme Court considered exactly the issue

 here: whether a state court is an appropriate forum for claims of riverbed navigability if a federal

 court lacks jurisdiction. 521 U.S. 261 (1997). The Supreme Court found that “[w]hile we can

 assume there is a special role for Article III courts in the interpretation and application of federal

 law in other instances as well, we do not for that reason conclude that state courts are a less

 than adequate forum for resolving federal questions.” Id. at 275 (emphasis added).

 G. Plaintiff Has a Claim to the Real Property Sufficient to Quiet Title

         Finally, Defendants argue that Plaintiff lacks a sufficient “interest” in the disputed

 riverbed to quiet title. See ECF Docs. 21 at 15-16, 27 at 13-14. First, while Plaintiff alleges the

 State holds title to the riverbed, he also alleges that it is held in trust for the public to use in


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 commerce, navigation, and fishing. ECF Doc. 13 ¶¶ 13, 49-59, 69-71; Illinois Central Railroad,

 146 U.S. at 452. The only court to consider whether that title is sufficient for a private citizen to

 quiet title to a navigable river found that it was. See Marks, 6 Cal. 3d at 262; see also Utah

 Stream Access Coal., 416 P.3d at 565 (dissent arguing majority should have reached quiet title

 issue and quieted title over navigable riverbed in suit by private party). Moreover, Colorado’s

 quiet title law—codified in Colo. R. Civ. P. 105—does not require a plaintiff to have title to the

 real property at issue. Rather, it requires an “interest” in the real property. See id. (“In any

 proceeding for the recovery of real property or an interest therein….” (emphasis added)); Keith

 v. Kinney, 961 P.2d 516, 519 (Colo. Ct. App. 1997) (“[T]he action to quiet title here must

 address the interests of all of the parties….” (emphasis added)). Plaintiff contends that the

 servitude for public commerce, navigation, and fishing encumbering the State’s title to the

 riverbed is a sufficient interest.

         If the Court finds that the question of whether Plaintiff’s interest in a navigable riverbed

 is sufficient to quiet title is close under state law, the Court should certify the question to the

 Colorado Supreme Court pursuant to Colo. App. R. 21.1(a). See Allstate Ins. Co. v. Brown, 920

 F.2d 664, 667 (10th Cir. 1990) (Certification may be appropriate “where the legal question at

 issue is novel and the applicable state law is unsettled.”).

                                        V. CONCLUSION

         For the forgoing reasons, Defendants’ Motions to Dismiss should be denied.

                                                 Respectfully submitted,

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                                       Certificate of Service

         I hereby certify that on August 28, 2018, I served a true and correct copy of the forgoing
 on all parties that have appeared pursuant to Fed. R. Civ. P. 5.

                                                      s/Alexander Hood__
                                                      Alexander Hood




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